Case 5:18-cv-00001-MFU Document 16 Filed 01/23/19 Page 1 of 1 Pageid#: 100
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CARRY H IXSO N ,

      Plaintiffy

V.                                            CivilAction N o.: 5:17-CV-032
                                                                5:18-CV-001

BRYAN H U T CH E SON ,eta1.,                  By:    M ichaelF.U rbansld,
                                                        ClliefU .S.DistdctJudge
      D efendants.

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      DefendantDt.MichaelMoranmovedforsummaryjudgmentonNovember5,2018.
ECF No.189.Thecourtheardargumentonlanuary3,2019.Forthereasonsstatedin the
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